        Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 1 of 35 Page ID #:1




          1 LQUIS R. MILLER CState Bar No. 54141)
            smiller@millerbarondess.com
          2 BRIAN A. PROCEL (State Bar No. 218657)
            bprocel@millerbarondess.com
          3 AMNON Z. SIEGEL (State Bar No. 234981)
            asiegel~millerbarondess.com
          4 CASEY B. SYPEK (State Bar No. 291214)
            csypek~millerbarondess.com
          5 DAVID I. BOSKO (State Bar No. 304927)
            dbosko(~millerbarondess.com
          6 MILLER BARONDESS, LLP
            1999 Avenue of the Stars, Suite 1000
          7 Los Angeles, California 90067
            Telephone: (310) 552-4400
          8 Facsimile: (310) 552-8400
          9 PAUL R. KIESEL (State Bar No. 119854)
            kiesel@kiesel.law
         10 JEFFREY A. KONCIUS (State Bar No. 189803)
            koncius@kiesel.law
         11 NICOLE RAMIREZ (State Bar No. 279017)
            ramirez@~kiesel.1aw
         12 KIESELtAW LLP
            8648 Wilshire Boulevard
         13 Beverly Hills, California 90211-2910
            Telephone: (310) 854-4444
~O~3
  ~i!    14 Facsimile: (310) 854-0812

         15 Attorneys for Plaintiffs and the Class
    Z

    ~    17                            UNITED STATES DISTRICT COURT
         18              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
         19
        20 REMY MCCARTHY and ROBERT                      CASE NO. 8:18-cv-201
           PHILLIPS, on behalf of themselves and
        21 all others similarly situated,
                                                         CLASS ACTION COMPLAINT
        22                    Plaintiffs,
        23               v.
        24 TOYOTA MOTOR CORPORATION,                     DEMAND FOR JURY TRIAL
           TOYOTA MOTOR SALES, U.S.A.,
        25 INC., and DOE DEFENDANTS 1-10
        26                    Defendants.
        27
        28
              369240.2                                                              Case No.
                                             CLASS ACTION COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 2 of 35 Page ID #:2




              1                                   TABLE OF CONTENTS
              2                                                                                    Page
              3 NATURE OF ACTION                                                                        3
              4 JURISDICTION AND VENUE                                                                  6
              5 PARTIES                                                                                 6
              6 FACTUAL BACKGROUND                                                                      7
              7              A.   Toyota’s Unintended Acceleration Crisis                               7
              8              B.   The New Crisis: Prius                                                 8
              9              C.   Toyota Issues Inadequate Repairs for Life-Threatening
             10                   Inverter Defects                                                     9
                             D.   The Misleading Warranty Enhancement                                 10

             12              E.   ThePriusVWagon                                                      11
                             F.   Post-Remedy Inverter Failures                                       11
             13
             14              G.   Statutory and Regulatory Framework                                  13
Z      ~     15              H.   Toyota Certifies Unsafe Cars as “Toyota Certified Used Vehicles.... 14
~ ~:   g
       .7
~            16 PLAINTIFFS                                                                            15
             17 CLASS ACTION ALLEGATIONS                                                              15
             18 TOLLING                                                                               18
             19 FIRST CAUSE OF ACTION                                                                 18
            20 SECOND CAUSE OF ACTION                                                                21
            21 THIRD CAUSE OF ACTION                                                                  23
            22 FOURTH CAUSE OF ACTION                                                                24
            23 FIFTH CAUSE OF ACTION                                                                 26
            24 SIXTH CAUSE OF ACTION                                                                 29
            25 SEVENTHCAUSEOFACTION                                                                   30
            26 EIGHTH CAUSE OF ACTION                                                                32
            27 PRAYER FOR RELIEF                                                                     33
            28
                  369240.2                                    2                                  Case No.
                                                          COMPLAINT
       Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 3 of 35 Page ID #:3




         1                                    NATURE OF ACTION
         2              1.   Toyota is the largest car manufacturer in the world and the global
         3 leader in hybrid technology. To benefit its bottom line, it has been concealing
         4 safety-related defects in its popular Prius and Prius V hybrid models that pose a risk
         5 of accidents and bodily injury or death. Toyota’s conduct in this regard endangers
         6 Toyota drivers, passengers and others on the road.
         7              2.   Toyota has a history of concealing safety defects. In 2009-20 14,
         8 Toyota was forced to recall millions of vehicles for unintended acceleration caused
         9 by “sticky pedals” and/or “floor mat entrapment.” The defects and accidents
        10 relating thereto were widespread and horrific—people were injured; lives were lost.
        11 Despite becoming aware of these dangerous defects, Toyota knowingly concealed
        12 them. Toyota’s cover-up was eventually discovered, and it was charged by the            U.S.
        13 Department of Justice with a crime under 18 U.S. Code § 1343.
        14       3.   Regulators linked deaths to crashes caused by unintended acceleration.
        15 Toyota’s malfeasance was the subject of Congressional hearings.
        16              4.   Toyota was fined $1.2 billion dollars by the U.S. government for hiding

~ ~:    17 dangerous defects, lying to the public and to regulators about defects, and failing to
        18 timely notify regulators as required by federal law. Although Toyota was fined, no
        19 individuals at Toyota were ever held responsible for the massive harm Toyota
        20 caused.
        21              5.   Afterwards, Toyota claimed it cleaned up its act. Not so. Toyota
        22 continues to mislead the public about safety defects in its vehicles. Even afier the
        23 sudden unintended acceleration fiasco, Toyota continues to put its bottom line over
        24 the safety and welfare of the people who drive its cars—corporate greed at its worst.
        25              6.   The inverter is the electrical brain of Toyota’s hybrid system. It
       26 converts electricity derived from a DC (Direct Current) source to AC (Alternating
       27 Current), powering the electrical systems of the car. The inverter is a critical
       28 component of a hybrid vehicle.
             369240.2                                     3                                       Case No.
                                                      COMPLAINT
              Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 4 of 35 Page ID #:4




                1              7.    The inverters in Prius liftback and Prius V wagon vehicles have been
                2 failing at alarming rates, causing the car to either shut down while driving or to enter
                3 “limp-home” (or “fail-safe”) mode. This defect has put customers at serious risk of
                4 injury or even death.
                5              8.    A car shutting down while driving is dangerous. Limp-home mode is
                6 also not safe. It renders inoperable systems in the car such as power steering, and it
                7 immediately and drastically reduces the speed of the car while driving.
                8              9.    In February 201 4—four years after the problem arose—Toyota issued
                9 Safety Recall EOE to address defective inverters in the Prius. Eighteen months later,
               10 in July 2015, Toyota issued Safety Recall FOR to address this same issue on the
               11 Prius V wagon.
               12              10.   Safety Recalls EOE and FOR called for two different remedies,
     ~.!       13 depending on whether the car’s inverter had already failed. If the
~L ~           14 inverter/components had not yet failed, the recall remedy was a software “re-flash.”

    I!         15 If the inverter/components had already failed, the recall remedy called for a
               16 replacement of the faulty rnverter.
w


~ ~:     :~    17              11.   The software “re-flash” does not adequately protect drivers of these
               18 vehicles. Customers whose Prius and Prius V cars received the software “re-flash”
               19 under Safety Recalls EOE and FOR still experienced inverter failures. Their cars
               20 either shut down while driving or suddenly decelerated and lost power steering.
               21              12.   The recall did not fix the problem, and Toyota knew it. Hundreds of
              22 thousands of Prius and Prius V cars that have not yet experienced an inverter failure
              23 are still on the road with defective inverters; and drivers are at risk.
              24               13.   Toyota issued a cheap, inadequate fix that did not remedy the problem.
              25 Toyota knows that inverters are failing even after the software “re-flash,”
              26 jeopardizing the safety of its consumers and others on the road. Toyota has
              27 admitted this.
              28               14.   Toyota concealed from customers that the software “re-flash” did not
                    369240.2                                      4                                   Case No.
                                                             COMPLAINT
          Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 5 of 35 Page ID #:5




            1 make them safe. Toyota wanted to save money: the defective software “re-flash”
            2 costs $80 per vehicle, whereas the necessary inverter replacement would have cost
            3 Toyota $3,000 per vehicle—a difference of several billion dollars to Toyota.
            4              15.   Toyota also concealed from customers that the software “re-flash”
            5 decreased the car’s fuel efficiency—defeating the very purpose of owning these
            6 hybrid vehicles. Customers choose the Prius because of its fUel efficiency. Toyota
            7 knows that, so it hid the cars’ reduced fuel efficiency.
            8              16.   Moreover, many of the Prius and Prius V cars have been certified by
            9 Toyota as Toyota Certified Used Vehicles, or “TCUVs.” Toyota classifies vehicles
           10 as TCUVs only after they successfully complete a supposedly rigorous “160-point
           11 Quality Assurance Inspection” and reconditioning. Toyota dealers pay Toyota $450
           12 for each certification, a fee that is then passed on to the customer.
           13              17.   By advertising a Toyota vehicle as a TCUV, Toyota falsely claims
           14 publicly that the vehicle is the best of the best. Toyota even certifies Priuses with

     ~~    15 defective inverters as TCUVs, knowing that these vehicles are not safe. It continues
‘U
           16 to mislead the public.
           17              18.   This case addresses Toyota’s corporate culture and ongoing fraudulent

           18 practices. For Toyota, it’s all about profits and the bottom line. Toyota is unwilling
           19 to spend money on safety recalls unless and until it gets caught.
           20              19.   The $1.2 billion fine for Toyota’s hiding of sudden unintended
           21 acceleration issues had no effect. It is time to indict, prosecute and convict Toyota’s
           22 top executives in the U.S. and Japan; and impose meaningful punitive damages to
           23 send a message that disregard of public safety is not acceptable. Nothing short of
           24 this will stop Toyota from endangering the public.
           25              20.   Toyota’s conduct violates federal law, California’s consumer protection
           26 statutes and common law, and is a breach of applicable warranties. Plaintiffs bring
           27 this suit on behalf of themselves and proposed nationwide and California classes to
           28 obtain damages (both actual and punitive), restitution, and injunctive relief
                369240.2                                     5                                    Case No.
                                                         COMPLAINT
          Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 6 of 35 Page ID #:6




            1                                 JURISDICTION AND VENUE
            2              21.   This Court has subject matter jurisdiction under the Class Action
            3 Fairness Act of 2005, 28 U.S.C.        §   1332(d). At least one class member is of diverse
            4 citizenship from at least one defendant; there are at least 100 members in the
            5 proposed Class; and the aggregate amount in controversy exceeds $5 million.
            6              22.   This Court has personal jurisdiction over Defendants because
            7 Defendant Toyota Motor Sales, U.S.A., Inc. is headquartered in California, and both
            8 Defendants conduct business in this state. Toyota Motor Corporation manufactures
            9 the inverters in these hybrid vehicles.
           10              23.   Venue is proper in this District under 28 U.S.C.   §   1391 because a
           11 substantial part of the acts giving rise to Plaintiffs’ claims occurred in this District.

           12                                          PARTIES
           13              24.   Plaintiff Remy McCarthy is a citizen and resident of Ventura County,
tic
      ~    14 California.

2     ~    15              25.   Plaintiff Robert Phillips is a citizen and resident of Orange County,
      ~    16 California.
           17              26.   Defendant Toyota Motor Sales, U.S.A. (“Toyota US”) is a California
           18 corporation with its principal place of business in Los Angeles County. Toyota US
           19 is responsible for the manufacture, distribution and sale of all Toyota automobiles in
           20 the United States.
          21               27.   Defendant Toyota Motor Corporation (“Toyota Japan”) is a Japanese
          22 corporation with its headquarters in Japan. Toyota Japan is the parent company of
          23 Toyota US and conducts business in this District.
          24               28.   Toyota US and Toyota Japan are referred to collectively in this
          25 complaint as “Toyota.”
          26               29.   The names and capacities of DOE Defendants 1-10 are currently
          27 unknown to Plaintiffs. Each of the DOE Defendants is legally responsible for the
          28 unlawful acts alleged herein.
                369240.2                                       6                                     Case No.
                                                           COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 7 of 35 Page ID #:7




              1              30.   At all relevant times, each defendant was acting as an agent or
              2 employee of each of the other and was acting within the course or scope of the
              3 agency with knowledge and consent of the other defendants. Each of the acts and
              4 omissions complained of were made known to, and ratified by, each of the other
              5 defendants.
              6                                  FACTUAL BACKGROUND
              7 A.           Toyota’s Unintended Acceleration Crisis
              8              31.   In 2009 and 2010, Toyota made false and misleading statements to
              9 consumers and governmental regulators about defects that caused sudden
             10 unintended acceleration—sticking gas pedals and floor mats trapping the pedals. It
             11 turns out that Toyota had been concealing these safety defects for years.
             12              32.   Toyota recalled millions of vehicles in connection with these life
             13 threatening safety issues, and Toyota issued a “stop-sale” on millions of cars
             14 globally.

~ ii! ~      15         33. In 2014, Toyota was charged criminally and fined over a billion dollars
             16 for its misleading statements to the public, regulators and Congress.

~ ~:   :~    17       34. After millions of recalls and significant damage to the Toyota brand,
             18 Toyota made numerous statements about its commitment to safety. Toyota assured
             19 the public that something like this would never happen again and that Toyota had
            20 cleaned up its act. Toyota said that it would commit itself to safety. Unbeknownst
            21 to customers, Toyota did not handle safety issues appropriately and continued to
            22 hide dangerous defects from the public.
            23               35.   In October 2017, the United States District Court in the Southern
            24 District of New York (the Honorable William H. Pauley III presiding), stated on the
            25 record that Toyota’s misleading statements “represented a reprehensible picture of
            26 corporate misconduct.” “Regrettably,” Judge Pauley continued, “the payment of a
            27 $1.2 billion fine and the appointment of a monitor concluded the government’s
            28 investigation into this tragic episode.” Judge Pauley also expressed concern that
                  369240.2                                      7                                      Case No.
                                                           COMPLAINT
Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 8 of 35 Page ID #:8




  1 Toyota and its executives were not held accountable for misleading the public and
  2 regulators.
  3              36.   Despite Toyota’s representations afier the sudden unintended
  4 acceleration crisis, it has continued to deliberately hide life-threatening safety issues.
  5 B.           The New Crisis: Prius
  6              37.   Hybrid vehicles are a blend of gasoline-powered vehicles, which have a
  7 fuel tank and internal combustion engine, and electric vehicles, which operate with
  8 batteries and an electric motor. The gasoline component allows a hybrid vehicle to
  9 be refueled quickly and drive for a long distance before needing to be refueled. The
 10 electric component reduces emissions and the driver’s fuel budget.
 11              38.   With rising fuel prices and the subsidies available for environmentally
 12 friendly vehicles, the number of hybrid vehicles on the road is rising dramatically.
 13 The Toyota Prius is the world’s most popular hybrid vehicle. Because of the Prius,
 14 Toyota has become the global leader in hybrid technology and fuel economy.

 15        39. Toyota markets the Prius as an environmentally and financially better
 16 alternative to conventional vehicles because it uses less fuel and has lower
 17 emissions. Customers buy and lease Toyota Priuses not only because they emit less
 18 pollution than standard vehicles, but also because of their fuel efficiency.
 19              40.   Hybrid vehicles like the Toyota Prius are equipped with an inverter
20 that functions as the electrical brain, or electrical choreographer, of Toyota’s hybrid
21    system. Inverters and their components are critical parts of the electrical power
22 system in Prius hybrids.
23               41.   In the Prius, electrical currents are constantly flowing back and forth
24 from many components such as the hybrid battery, the brakes, gauges, and the motor
25 generators, among others. The inverter takes electrical currents and boosts them up
26 to power the wheels and reduces them to power smaller electrical components. It
27 also converts currents to the proper type (DC to AC and vice versa) in order to
28 power the electrical systems of the car.
      369240.2                                       8                                    Case No.
                                                COMPLAINT
       Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 9 of 35 Page ID #:9




         1              42.   When an inverter overheats, the car can completely shut down or enter
         2 what Toyota calls “limp-home” mode. When a vehicle enters “limp-home” or “fail
         3 safe” mode, the vehicle’s speed drastically reduces in order to avoid thrther strain on
         4 the engine and “limp” you home. This is a dangerous safety defect. If a car is
         5 traveling on the highway at 65 miles per hour and is surrounded by other cars
         6 traveling at similar speeds, a sudden switch into “limp-home” mode could disrupt
         7 traffic and cause a serious accident.
         8 C.           Toyota Issues Inadequate Repairs For Life-Threatening Inverter Defects
         9              43.   Beginning in 2010, drivers of 2010-2014 Toyota Prius (liftback)
        10 models were experiencing problems with their inverters. The inverters were failing,
        11 causing the car to either shut down while driving or to enter “limp-home” mode.
        12              44.   Despite knowing about this safety concern since at least 2010 (if not
 ~!     13 earlier), Toyota took no action until 2014. In February 2014, Toyota finally issued
        14 Safety Recall EOE to address this issue in over 700,000 Prius vehicles in the        U.S.,
~ ~:    15 including many that had already been on the road for years. In several documents
        16 prepared by Toyota in connection with Safety Recall EOE (the Defect Information
        17 Report submitted to NHTSA, the customer notification and dealer notification),
        18 Toyota admitted that these failing inverters were “increasing the risk of a crash.”
        19              45.   Safety Recall EOE requires a software “re-flash,” i.e., a reboot of the
       20 software, costing Toyota approximately $80 per vehicle. Once a car is given the
       21 sofiware “re-flash,” the recall is deemed completed.
       22               46.   But this dilatory “remedy” did not fix the safety defect. Many
       23 customers who received the sofiware “re-flash” have experienced failing inverters.
       24 Thus, they were still at risk of experiencing a shut-down or loss of power while
       25 driving, jeopardizing their safety.
       26               47.   Toyota claims that a vehicle on which the software “re-flash” has been
       27 performed will not shut down, but instead will go into limp-home mode. “Limp-
       28 home” mode is dangerous and can be life-threatening. It is a serious threat to the
             369240.2                                       9                                    Case No.
                                                       COMPLAINT
        Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 10 of 35 Page ID #:10




           1 safety of drivers, passengers and others on the road. When a car enters “limp-home”
           2 mode, the speed reduces dramatically, and power steering is disabled. A sudden
           3 decrease in speed while driving on a major road or highway puts not only the driver
           4 and passengers in danger, but also others on the road. The software “re-flash” is not
           5 an adequate remedy for this defect.
           6             48.   Under Safety Recall EOE   —   the software reboot   —   Toyota did not correct
           7 the root cause of the inverter failure. Instead, Toyota chose to perform an
           8 ineffective fix that cost a fraction of what the appropriate fix would have cost. Prius
           9 drivers who believed they had completed the necessary recall repair work were thus
          10 put back on the road with defective inverters still in their vehicles.
          11             49.   In cases where the inverter has already failed (a customer’s vehicle has
          12 already experienced this defect while driving), the remedy under Safety Recall EOE
          13 is different. There, after the inverter has failed, Toyota replaced the faulty
          14 inverter—the only way to guarantee the vehicle will perform safely.
    ~     15             50.   Toyota issued the $80 software reboot, knowing it would not fix the
          16 inverter, to save repair costs ($3,000 for frill replacement versus the $80 reboot), at
~
          17 the expense of Toyota drivers and their safety.

          18       51. In addition, unbeknownst to customers, Toyota’s software “re-flash”
          19 decreased the fuel efficiency of the Priuses. Toyota’s so-called “remedy”
          20 manipulated the inverters so that the cars became more dependent on the gas engine
         21 and less dependent on the electric engine. By doing so, unbeknownst to drivers,
         22 Toyota reduced the vehicles’ fhel efficiency, which is the main reason why
         23 consumers purchase Priuses. Toyota suppressed this material information from
         24 drivers and misled them into believing that their cars’ fuel efficiency would remain
         25 the same after the “re-flash.”
         26 D.           The Misleading Warranty Enhancement
         27              52.   To cover its tracks, Toyota issued the ZE3 Warranty Enhancement,
         28 which extended warranty coverage on inverters to 15 years in Prius cars that had the
               3692402                                       10                                       Case No.
                                                       COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 11 of 35 Page ID #:11




            1 inverter software “re-flash” under Safety Recall EOE. Under this warranty, Toyota
            2 will replace the inverters only after they fail. This is insufficient and does not
            3 protect driver safety. A customer should not have to face a life-threatening loss or
            4 reduction of power while driving in order to obtain the necessary inverter
            5 replacement.
            6              53.   Toyota saved billions of dollars by replacing inverters only after they
            7 failed instead of fixing them up front. The ZE3 Warranty Enhancement looks good
            8 to customers but is misleading. In fact, it is further evidence that Toyota knew
            9 inverters would fail after receiving the software “re-flash.” If the “re-flash” fixed
           10 the problem, then there would be no need for Toyota to extend the warranty.
           11 E.           The PriusVWagon

           12      54. The Toyota Prius V is the wagon version of the Toyota Prius. These
           13 two models have the same inverter.
!   ~-     14              55.   In July 2015, Toyota issued Safety Recall FOR to address defective
           15 inverters in 20 12-2014 Prius Vs. Safety Recall FOR calls for the same software “re
           16 flash,” i.e., a reboot of the software, as Safety Recall EOE.
~~         17              56.   Toyota did not issue a safety recall for the Prius V until 18 months after
           18 issuance of the Safety Recall EOE for the Prius. Toyota knew about the danger of
           19 driving Prius V vehicles with defective inverters for 18 months and did nothing
           20 about it during that period of time.
           21              57.   In May 2016, Toyota issued the ZF5 Warranty Enhancement, which
           22 extended warranty coverage on inverters to 15 years in Prius V cars that had the
           23 software “re-flash” under Safety Recall FOR. The ZF5 Warranty Enhancement was
           24 identical to the ZF3 Warranty Enhancement issued on the Toyota Prius.
           25 F.           Post-Remedy Inverter Failures
          26               58.   Thousands of customers have experienced post-Safety Recall EOE or
          27 post-Safety Recall FOR inverter failures. This is happening all over the country, and
          28 the number will increase as inverters continue to fail.
                369240.2                                      11                                    Case No.
                                                          COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 12 of 35 Page ID #:12




            1              59.   In or about February 2011, a driver of a 2010 Prius experienced an
            2 inverter failure while driving on the interstate highway. Four different warning
            3 lights illuminated on the dashboard, and the vehicle lost power. The Prius had only
            4 3,400 miles on it.
            5              60.   In or about April 2015, another Toyota driver experienced an inverter
            6 failure while driving, causing the car to lose power. The driver had the car towed to
            7 the nearest Toyota facility.
            8              61.   In or about October 2015, a Toyota driver experienced an inverter
            9 failure while driving, causing her car to completely stop working.
           10              62.   In or about December 2015, another Toyota driver experienced an
           11 inverter failure while driving in the rain. Although her car had the software “re
           12 flash” under Safety Recall EOE in April 2014, the car lost power and would not
   ]~      13 restart.
           14              63.   In or about January 2017, another Toyota driver experienced an
~ ;~ ~     15 inverter failure that caused his car to suddenly enter “limp-home” mode while
           16 driving 65 miles per hour on a California highway.
           17              64.   In October 2017, a Toyota driver had a dangerous, life-threatening
           18 experience while driving her Toyota Prius on a major road. Although her car had
           19 Safety Recall EOE completed in 2014 and only had 31,222 miles on it, she
           20 experienced an inverter failure that caused her car to shut down while driving. The
           21 dashboard flashed with lights telling her to turn off the engine and park the car
           22 immediately. She lost power and was lucky to avoid a major crash. She had her
           23 Prius towed to the nearest Toyota dealer.
           24              65.   In January 2018, another Toyota driver experienced inverter failure in
           25 her 2012 Toyota Prius while driving approximately 50 miles per hour on a major
           26 road. This was after her car had Safety Recall EOE (the software “re-flash”)
           27 completed in 2014. Her vehicle lost power, and the dashboard and airbag lights
           28 flashed. She had her Prius towed to the nearest Toyota dealer, and the inverter was
                369240.2                                     12                                   Case No.
                                                         COMPLAINT
     Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 13 of 35 Page ID #:13




        1 replaced under warranty. She was too afraid to drive the car again, so she sold her
        2 Prius to CarMax.
        3              66.   Toyota has information about many other inverters that have failed
        4 across the country because it has received thousands of manual allocation email
        5 requests for replacement parts from dealers when an inverter fails. Toyota has
        6 learned about other failed inverters that it has replaced under Toyota’s ZE3 and ZF5
        7 warranty extensions, original factory warranty, and EOE and FOR safety recalls. But
        8 Toyota has refused to issue a proper fix, continuing to jeopardize customer safety.
        9              67.   Toyota has still not issued a safety recall to replace the inverters or their
       10 components. Toyota’s concealment of this safety defect has diminished the value of
       11 the vehicles and continues to endanger Toyota drivers and others on the road.
       12 G.           Statutory And Regulatory Framework
       13              68.   Toyota’s practice of “repairing” defective inverters by performing an
       14 ineffective, cheap software “re-flash,” and offering to fix defective inverters only
       15 after they fail, violates the National Traffic and Motor Vehicle Safety Act of 1966
       16 (the “Safety Act”).
~~     17              69.   The Safety Act requires that manufacturers remedy recalled vehicles
       18 with safety defects in one of three ways: (1) repairing the vehicle/equipment;
       19 (2) replacing the vehicle/equipment with an identical or equivalent
       20 vehicle/equipment; or (3) refunding the vehicle’s purchase price. 49 U.S.C.A.
       21   §   30120(a)(1)(A).
       22              70.   If a manufacturer decides to repair a vehicle and the repair is not done
       23 adequately within a reasonable time, the manufacturer must either (a) replace the
       24 vehicle or equipment without charge with an identical or equivalent vehicle or
      25 equipment; or (b) refund the purchase price. Id.          § 30120(c)(1).
      26               71.   The purpose of the Safety Act is to prevent serious injuries stemming
      27 from established defects before they occur, not to fix safety defects only after they
      28 occur. The Safety Act does not permit Toyota to recall vehicles and then ignore the
            369240.2                                       13                                     case No.
                                                      COMPLAINT
      Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 14 of 35 Page ID #:14




         1 statutory remedy requirements.
         2              72.   Federal regulations also set forth the responsibilities of manufacturers
         3 of motor vehicles under the Safety Act with respect to safety-related defects. Car
         4 manufacturers must file defect information reports with NHTSA within five days of
         5 discovering safety-related defects. 49 C.F.R.        § 573.6.
         6 H.           Toyota Certifies Unsafe Cars As “Toyota Certified Used Vehicles”
         7              73.   Many 2010-2014 Toyota Priuses and 2012-2014 Prius Vs have been
         8 certified as Toyota Certified Used Vehicles, or “TCUVs.” Toyota identifies
         9 vehicles as TCUVs only afier they successfully complete a “1 60-point Quality
        10 Assurance Inspection” and reconditioning. Toyota charges its dealers $450 for each
        11 certification. This charge then gets passed on to the customers.
        12              74.   Toyota has stated that its TCUV program is “vital to keeping [its]
        13 residual values strong.” By advertising a Toyota vehicle as a TCUV, Toyota
        14 represents that the vehicle is the best of the best. But the Prius and Prius Vs with
~i~     15 faulty inverters have serious safety issues creating a substantial risk of accidents and
        16 injuries.
        17              75.   As set forth on its website for TCUVs (www.toyotacertified.com),
        18 Toyota advertises, “The Best New Cars Make the Best Used Cars.” Toyota also
        19 claims: “Only the best get to be Toyota Certified Used Vehicles.”
        20              76.   The “re-flash” recall remedy is clearly deficient, and Toyota is fully
        21 aware of abundant inverter failures post-”re-flash”; yet Toyota refuses to do the
        22 right thing and replace these inverters unless and until customers face life-
       23 threatening engine failures on the road. And Toyota continues to certify these
       24 unsafe vehicles as TCUVs.
       25               77.   Prius inverters continue to fail after obtaining Toyota’s cheap recall.
       26 Toyota is knowingly jeopardizing customer safety by continuing to put drivers back
       27 on the road with defective inverters that can cause the car to shut down while
       28 driving or enter “limp-home” mode.
             369240.2                                      14                                     Case No.
                                                       COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 15 of 35 Page ID #:15




               1                                          PLAINTIFFS
               2              78.   Plaintiff Remy McCarthy owned or owns a 2010 Toyota Prius, a model
               3 affected by the EWE recall. Mr. McCarthy’s vehicle received the software “re-flash”
               4 under Safety Recall EOE.
               5              79.   Plaintiff Robert Phillips owned or owns a 2013 Toyota Prius V, a
               6 model affected by the FOR recall. Mr. Phillips’ vehicle received the software “re
               7 flash” under Safety Recall FOR.
               8                               CLASS ACTION ALLEGATIONS
               9              80.   “Class Vehicles” includes:
              10                    a.     All 2010-2014 Toyota Prius lifiback vehicles; and
              11                    b.     All 2012-2014 Toyota Prius V wagon vehicles.
              12              81.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs
              13 bring this action individually and on behalf of the following proposed classes of
~ !-          14 persons, initially defined as:
~ ~: ~        15              Nationwide Class:
              16              All persons who bought or leased a Class Vehicle in the United States.
   ~-   ~     17              California Class:
              18              All persons who bought or leased a Class Vehicle in California.
              19              82.   The Class does not include Defendants; any affiliate, parent or
             20 subsidiary of Defendants; any entity in which Defendants have a controlling
             21 interest; any officer, director or employee of Defendants; any successor or assign of
             22 Defendants; or any judge to whom this case is assigned and any member of his or
             23 her immediate family.
             24               83.   Also excluded from the class are individuals who have claims for
             25 personal injury as a result of failed inverters or inverter components. The claims at
             26 issue in this case do not seek damages for physical injury. Thus, individualized
             27 determinations as to causation of bodily injury will not be required. This class
             28 action only seeks the economic and equitable relief requested herein.
                   369240.2                                      15                                    Case No.
                                                            COMPLAINT
          Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 16 of 35 Page ID #:16




             1              84.   Numerosity. The Class is comprised of millions of persons, making
             2 joinder of such cases impracticable. Disposition of the claims in a class action
             3 context will provide substantial benefits to the parties and the Court.
             4              85.   Existence and predominance of common questions. Common
             5 questions of law and fact exist as to all members of the proposed Class and
             6 predominate over questions affecting only individual Class members. These
             7 common questions include, but are not limited to, the following:
             8                    a.    Whether inverters were defective in the Class Vehicles;
             9                    b.    Whether those defective inverters created an unreasonable risk of
            10 accidents and bodily injury;
            11                    c.    Whether Toyota’s software “re-flash” under Safety Recalls EOE

            12 and FOR is an adequate repair under the statutory and regulatory framework;
            13             d.    Whether Toyota’s software “re-flash” under Safety Recalls EOE
    4!      14 and FOR decreases the vehicle’s fuel efficiency;

~ ~; !~     15              e.    Whether Toyota had a duty to disclose the Class Vehicles’ safety
            16 defects to customers;
            17                    f.   Whether Toyota concealed safety defects in connection with the
            1 8 Class Vehicles from customers;
            19                    g.   Whether Toyota concealed from customers that Safety Recalls
           20 EOE and FOR did not fix the defective inverters;
           21                     h.   Whether Toyota’s conduct violated the California Unfair
           22 Competition law;
           23                     i.   Whether Toyota’s conduct constituted false advertising;
           24                     j.   Whether Toyota’s marketing of Class Vehicles was likely to
           25 deceive or mislead consumers;
           26                     k.   Whether Toyota’s classification of Class Vehicles as TCUVs
           27 was likely to deceive or mislead consumers;
           28                     1.   Whether Toyota’s conduct constituted a breach of the implied
                 369240.2                                    16                                   Case No.
                                                         COMPLAINT
     Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 17 of 35 Page ID #:17




        1 warranty of merchantability;
        2                   m.    Whether Toyota’s conduct constituted a breach of the implied
        3 warranty of fitness for a particular purpose; and
        4                   n.    Whether Plaintiffs were injured as a result of Toyota’s conduct.
        5             86.   Typicality. Plaintiffs’ claims are typical of the claims of the proposed
        6 Classes. Plaintiffs and the Class members they propose to represent purchased or
        7 leased Class Vehicles that are affected by the same safety defects, giving rise to
        8 substantially the same claims.
        9             87.   Adequacy. Plaintiffs will fairly and adequately represent and protect
       10 the interests of the proposed Classes. Plaintiffs have no interests that are
       11 antagonistic to or that irreconcilably conflict with those of the other Class members
       12 they seek to represent. Plaintiffs have retained counsel competent and experienced
~j     13 in the prosecution of class action litigation and intends to prosecute this action
       14 vigorously.
~~     15        88. Superiority. Class certification is appropriate under Rule 23(b)(3). A
 ~     16 class action is superior to all other available methods for the fair and efficient
       17 adjudication of this controversy. This litigation involves technical issues that will
       18 require expert testimony and targeted discovery of sophisticated defendants, and
       19 could not practically be taken on by individual litigants. In addition, individual
       20 litigation of Class members’ claims would be unduly burdensome to the court
       21   system and has potential to lead to repetitious litigation with inconsistent results. A
       22 class action would achieve substantial economies of time, effort and expense, and
       23 would assure uniformity of decision as to persons similarly situated without
       24 sacrificing procedural fairness.
       25             89.   Class certification is also appropriate under Rule 23(b)(2) because
       26 Toyota has acted or refused to act on grounds generally applicable to the Class,
       27 thereby making final injunctive relief or corresponding declaratory relief appropriate
       28 with respect to the Class as a whole.
            3692402                                      17                                   Case No.
                                                    COMPLAINT
        Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 18 of 35 Page ID #:18




           1              90.   The nature of notice to the proposed Classes is contemplated to be by
           2 direct mail or, if such notice is not practicable, by the best notice practicable under
           3 the circumstance including email, publication in major newspapers and/or on the
           4 Internet.
           5                                            TOLLING
           6              91.   Any applicable statutes of limitations that might otherwise bar any of
           7 Plaintiffs’ claims are tolled by Defendants’ knowing and active concealment of the
           8 defective inverters in the Class Vehicles, and the safety risks and diminished fuel
           9 economy resulting therefrom.
          10              92.   Defendants kept Plaintiffs in the dark as to necessary information
          11 essential to the pursuit of their claims. Because of Toyota’s cover-up, proposed
          12 Class members could not have reasonably discovered their defective inverters.
~ !-      13                                  FIRST CAUSE OF ACTION
    ~     14         VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
~~        15                                             (“UCL”)
          16                          (CAL. BUS. & PROF. CODE § 17200, et seq.)
~   ~     17                                (On Behalf of the California Class)
          18              93.   Plaintiffs reallege and incorporate by reference all paragraphs alleged
          19 herein.
         20               94.   Plaintiffs assert this claim on behalf of themselves and on behalf of all
         21 persons and entities that purchased or leased a Class Vehicle.
         22               95.   California Business and Professions Code section 17200 prohibits any
         23 “unlawful, unfair, or fraudulent business act or practice and unfair, deceptive, untrue
         24 or misleading advertising...”
         25               96.   Defendants have engaged in unlawful, fraudulent, and unfair business
         26 acts and practices in violation of the UCL. Defendants have engaged in unfair,
         27 deceptive, untrue, or misleading advertising in violation of the UCL.
         28               97.   Defendants have engaged in unlawful acts or practices under section
               369240.2                                      18                                      Case No.
                                                         COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 19 of 35 Page ID #:19




               1   17200 by their violations of the Consumers Legal Remedies Act, California Civil
               2 Code             §       1750, et seq., as set forth in Count VII, through the acts and practices set
               3 forth in this Complaint.
               4                  98.          Defendants have engaged in unlawful acts and practices because they
               5 violated the Safety Act as defined herein, codified at 49 U.S.C.                       § 30101, et seq.,
               6 and its regulations.
               7                  99.          49 U.S.C.A.     §   30120(c)(1) requires that if a manufacturer repairs a
               8 vehicle and the repair is not done adequately within a reasonable time, the
               9 manufacturer must either (a) replace the vehicle or equipment without charge with
              10 an identical or equivalent vehicle or equipment; or (b) refund the purchase price.
              11 Under 49 U.S.C.A.                    § 30120(c)(2), failure to repair a vehicle or equipment
              12 adequately within 60 days is prima facie evidence of failure to repair within a
              13 reasonable time.
     i~       14        100. Here, Defendants’ practice of “repairing” defective inverters and
    ~j~       15 inverter components by performing an ineffective, cheap software “re-flash,” and
~G5~D                         .                        .   .



w
              16 offering to fix defective inverters only after they fail, violates the Safety Act.

j    ~ ~:     17        101. Defendants have engaged in unlawful acts and practices because they
              18 violated federal regulations requiring manufacturers to file defect information
              19 reports with NHTSA within five days of discovering safety-related defects. 49
              20 C.F.R.               §   573.6. Toyota knows its software “re-flash” remedy does not fix defective
              21 inverters, but it has not filed defect information reports in connection with these
              22 remaining defects.
              23                  102. Defendants also violated the “TREAD Act,” 49 U.S.C.                  §~ 30101-
              24 30170, when they allowed Class Vehicles to be sold with the defect.
              25                  103. Defendants have engaged in fraudulent business acts or practices under
              26 section 17200 because their misrepresentations and omissions regarding the safety,
              27 fuel efficiency, reliability and dependability of the Class Vehicles were intended to,
             28 were likely to, and did deceive reasonable consumers. The information Defendants
                   369240.2                                                     19                                    Case No.
                                                                            COMPLAINT
              Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 20 of 35 Page ID #:20




                 1 misrepresented and concealed would be and is material to reasonable consumers.
                 2              104. Defendants have engaged in unfair acts and practices under section
                 3   17200 based on the acts and practices set forth in the Complaint, including the
                 4 manufacture, sale, lease, and ineffective repair of vehicles with an inverter defect
                 5 that causes vehicles to shut down while driving or enter into “limp-home” mode.
                 6 Defendants’ failure, over a long period of time, to adequately disclose the inverter
                 7 defect or adequately address it, caused and causes excessive, undue harm and risk to
                 8 consumers.
                 9              105. Defendants have engaged in unfair acts and practices under section
                10 17200 because the acts and practices set forth in the Complaint, including the
                11 manufacture and sale of vehicles with an inverter defect that causes vehicles to shut
                12 down while driving or enter into “limp-home” mode, and Defendants’ failure, over a
                13 long period of time, to adequately disclose the defect or address it, offend public
                14 policy.
~   ~<   ~:     15        106. Defendants have engaged in unfair, deceptive, untrue or misleading
                16 advertising under section 17200 because Defendants advertised the Class Vehicles
                17 as safe and advertised them as having greater fuel efficiency than they actually have.
                18              107. Defendants’ conduct, misrepresentations and omissions have also
                19 impaired competition within the automobile market. Defendants’ conduct,
                20 misrepresentations and omissions have also prevented Plaintiffs from making frilly
                21 informed decisions about whether to purchase or lease Class Vehicles and/or the
                22 price to be paid to purchase or lease Class Vehicles.
               23               108. Plaintiffs have suffered an injury in fact, including the loss of money
               24 and/or property, as a result of Defendants’ unfair, unlawful and/or deceptive
               25 practices. In purchasing or leasing their vehicles, Plaintiffs relied on Defendants’
               26 misrepresentations and/or omissions with respect to the safety, fuel efficiency,
               27 reliability and dependability of the vehicles.
               28               109. Defendants’ representations were untrue. The Class Vehicles can
                     369240.2                                      20                                   Case No.
                                                               COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 21 of 35 Page ID #:21




            1 unexpectedly and dangerously shut down while driving. The Class Vehicles can
            2 unexpectedly and dangerously enter “limp-home” mode while driving. The Class
            3 Vehicles are less fuel efficient than Defendants represented. Had Plaintiffs known
            4 these facts, they would not have purchased or leased the Class Vehicles and/or paid
            5 as much for them.
            6               110. The wrongful conduct alleged herein occurred, and continues to occur,
            7 in the conduct of Defendants’ business. Defendants’ wrongful conduct is part of a
            8 pattern or generalized course of conduct that is still perpetuated and repeated, both
            9 in the State of California and nationwide.
           10               111. Plaintiffs request that this Court enjoin Defendants from continuing
           11 their unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs any
           12 money Defendants acquired through unfair competition, including but not limited to
           13 restitution and disgorgement.
           14                                 SECOND CAUSE OF ACTION

           15              VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
~ ~        16                       (CAL. BUS. & PROF. CODE § 17500, et seq.)
 ~   ~     17                                 (On Behalf of the California Class)
           18               112. Plaintiffs reallege and incorporate by reference all paragraphs alleged
           19 herein.
          20                113. Plaintiffs assert this claim on behalf of themselves and on behalf of any
          21 person or entity that purchased or leased a Class Vehicle.
          22                114. California Business and Professions Code      §   17500 states: “It is
          23 unlawful for any person, firm, corporation or association, or any employee thereof
          24 with intent directly or indirectly to dispose of real or personal property or to perform
          25 services, professional or otherwise, or anything of any nature whatsoever to induce
          26 the public to enter into any obligation relating thereto, to make or disseminate or
          27 cause to be made or disseminated          ...   any statement, concerning that real or personal
          28 property or those services, professional or otherwise, or concerning any
                369240.2                                        21                                        Case No.
                                                             COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 22 of 35 Page ID #:22




                1 circumstance or matter of fact connected with the proposed performance or
               2 disposition thereof, which is untrue or misleading, and which is known, or which by
               3 the exercise of reasonable care should be known, to be untrue or misleading.”
               4              115. Defendants made, disseminated, or caused to be made or disseminated
               5 through California and the United States, through advertising, marketing and
               6 publications, statements that were untrue or misleading, and which were known, or
               7 which by the exercise of reasonable care should have been known to Defendants, to
               8 be untrue and misleading to Plaintiffs.
               9              116. Defendants have violated section 17500 because the misrepresentations
              10 and omissions regarding the safety and reliability of the Class Vehicles as set forth
              11 in this Complaint were material and likely to deceive a reasonable consumer.

              12       117. Defendants have violated section 17500 because the misrepresentations
~   ~.!       13 and omissions regarding the fuel efficiency of the Class Vehicles as set forth in this
              14 Complaint were material and likely to deceive a reasonable consumer.
2: ~o                                  .   .                   .   .


9             15       118. Plaintiffs have suffered an injury, including the loss of money or
              16 property, as a result of Defendants’ unfair, unlawful and/or deceptive practices. In
    ~   ~     17 purchasing or leasing their Class Vehicles, Plaintiffs relied on the

              18 misrepresentations and/or omissions of Defendants with respect to the safety,
              19 reliability and fuel efficiency of the Class Vehicles. Defendants’ representations
              20 were untrue.
              21              119. The Class Vehicles are less fuel efficient than Defendants led Plaintiffs
              22 to believe because of their defective inverters. Had Plaintiffs known this, they
              23 would not have purchased or leased their Class Vehicles and/or paid as much for
              24 them.
              25              120. The Class Vehicles were less safe and reliable than Defendants led
              26 Plaintiffs to believe because of their defective inverters. Had Plaintiffs known this,
              27 they would not have purchased or leased their Class Vehicles and/or paid as much
              28 for them.
                   369240.2                                        22                                 Case No.
                                                            COMPLAINT
     Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 23 of 35 Page ID #:23




        1              121. Plaintiffs overpaid for their Class Vehicles and did not receive the
        2 benefit of their bargain. Plaintiffs have also overpaid for fuel, relative to what they
        3 would have expected to pay based on Defendants’ statements, on an ongoing basis
        4 since Plaintiffs purchased or leased the Class Vehicles.
        5              122. The wrongful conduct alleged herein occurred, and continues to occur,
        6 in the conduct of Defendants’ business. Defendants’ wrongfhl conduct is part of a
        7 pattern or generalized course of conduct that is still perpetuated and repeated, both
        8 in the State of California and nationwide.
        9              123. Plaintiffs request that this Court enjoin Defendants from continuing
       10 their unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs any
       11 money Defendants acquired through their unfair competition, including but not
       12 limited to restitution and disgorgement.
 ~     13                                  THIRD CAUSE OF ACTION
~!     14        BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
       15                                   (CALCoM.CoDE~2314)
       16                                (On Behalf of the California Class)
       17              124. Plaintiffs incorporate by reference and reallege all paragraphs alleged
       18 herein.
       19              125. Plaintiffs assert this claim on behalf of themselves and on behalf of any
       20 person or entity that purchased or leased a Class Vehicle.
       21              126. Toyota US is and was at all relevant times a merchant with respect to
       22 the Class Vehicles under California Commercial Code          § 2104.
       23              127. A warranty that the Class Vehicles were in merchantable condition was
       24 implied by law in all contracts for their sale or lease, pursuant to California
       25 Commercial Code          § 23 14(1).
      26               128. The Class Vehicles, when sold or leased and at all times thereafter,
      27 were not in merchantable condition and are not fit for the ordinary purpose for
      28 which cars are used. Specifically, the Class Vehicles were and are defective in that
            369240.2                                     23                                    Case No.
                                                     COMPLAINT
      Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 24 of 35 Page ID #:24




         1 there were and are defects in their inverters that cause the cars to shut down while
         2 driving or to enter “limp-home” mode; the Class Vehicles do not have an adequate
         3 fail-safe to protect against such events; the Class Vehicles were sold with sofiware
         4 that was not programmed according to industry standards; the inverters were not
         5 adequately designed, manufactured and tested; and Defendants issued inadequate
         6 repairs for these dangerous defects.
         7              129. Defendants were and are aware of these issues. Toyota admitted in its
         8 Defect Information Report submitted to the NHTSA that its failing inverters were
         9 “increasing the risk of a crash.” Toyota also has notice of these issues based on the
        10 many other inverters that have failed across the country. Toyota has received
        11 thousands of email requests for replacement parts from dealers when inverters fail.
        12 Toyota has issued recalls, acknowledging awareness of these issues, but it has failed

        13 to issue any proper fixes.
~!      14        130. Plaintiffs have had sufficient direct dealings with either the Defendants
        15 or their agents (dealerships) to establish privity of contract between Plaintiffs and
~       16 Defendants.
 ~;     17              131. Privity is not required in this case because Plaintiffs are intended third
        18 party beneficiaries of contracts between Defendants and their dealers. Plaintiffs are
        19 the intended beneficiaries of Toyota’s implied warranties.
        20              132. As a direct and proximate result of Defendants’ breaches of the
        21 warranty of merchantability, Plaintiffs have been damaged in an amount to be
        22 proven at trial.
        23                                FOURTH CAUSE OF ACTION
        24                  VIOLATION OF MAGNUSON-MOSS WARRANTY ACT
        25                                    (15 U.S.C.   §   2301, et seq.)
        26                               (On Behalf of the Nationwide Class)
        27              133. Plaintiffs incorporate by reference and reallege all paragraphs alleged
        28 herein.
             369240.2                                      24                                    Case No.
                                                       COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 25 of 35 Page ID #:25




            1              134. Plaintiffs assert this claim on behalf of themselves and on behalf of any
            2 person or entity that purchased or leased a Class Vehicle.
            3              135. This Court has jurisdiction to decide claims brought under 15 U.S.C.
            4   § 2301     by virtue of 28 U.S.C.      §   1332 (a)-(d).
            5              136. The Class Vehicles are “consumer products” within the meaning of the
            6 Magnuson-Moss Warranty Act, 15 U.S.C.                     § 23010).
            7              137. Plaintiffs are “consumers” under the Magnuson-Moss Warranty Act, 15
            8 U.S.C.       § 230 1(3).
            9              138. Defendants are “suppliers” within the meaning of the Magnuson-Moss
           10 Warranty Act, 15 U.S.C.           §   2301(4).
           11              139. Defendants are “warrantors” within the meaning of the Magnuson
           12 Moss Warranty Act, 15 U.S.C.                 § 2301(5).
           13              140.   15 U.S.C.   § 23l0(d)(1) provides a cause of action for any consumer
           14 who is damaged by the failure of a warrantor to comply with an implied warranty.

~ ; !~     15       141. The Class Vehicles’ had implied warranties within the meaning of 15
~          16 U.S.C.~2301(7).
           17              142. Defendants breached the implied warranties on the Class Vehicles as
           18 described above, including by not repairing or adjusting the defective rnverters;
           19 providing Class Vehicles not in merchantable condition and which present an
           20 unreasonable risk of sudden shut down or entering “limp-home” mode, and not fit
           21 for the ordinary purpose for which the Class Vehicles are used; providing Class
           22 Vehicles that were not fully operational, safe or reliable; and inadequately repairing
           23 and not curing defects and nonconformities once they were identified.
           24              143. Plaintiffs have had sufficient direct dealings with either the Defendants
           25 or their agents (dealerships) to establish privity of contract between Plaintiffs and
           26 Defendants.
           27              144. Privity is not required in this case because Plaintiffs are intended third
           28 party beneficiaries of contracts between Defendants and their dealers. Plaintiffs are
                369240.2                                            25                              Case No.
                                                                COMPLAINT
            Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 26 of 35 Page ID #:26




               1 the intended beneficiaries of Toyota’s implied warranties.
               2              145. Affording Defendants an opportunity to cure their breach of warranties
               3 would be unnecessary and thtile. At the time of sale or lease of each Class Vehicle,
               4 Defendants knew of the Class Vehicles’ inability to perform as warranted and lower
               5 friel efficiency based on the inverter defect, but nonetheless failed to rectify the
               6 situation and/or disclose the inverter defect. Defendants have still failed to rectify
               7 the situation. Under the circumstances, the remedies available under any informal
               8 settlement procedure would be inadequate and any requirement that Plaintiffs resort
               9 to an informal dispute resolution procedure and/or afford Defendant a reasonable
              10 opportunity to cure their breach of warranties is excused and thereby deemed
              11 satisfied.
              12              146. The amount in controversy of Plaintiffs’ individual claims meets or
~ 3~          13 exceeds the sum of $25. The amount in controversy of this action exceeds the sum
~             14 of $50,000, exclusive of interest and costs, computed on the basis of all claims to be
~ 1! ~        15 determined in this lawsuit.
              16       147. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
    ~   ~     17 suffered damages and continue to suffer damages, including but not limited to the
              18 difference between the value of the vehicle paid and the actual value of the vehicle.
              19 Plaintiffs are entitled to legal and equitable relief against Defendants, including
              20 damages, costs, attorneys’ fees, and other relief as appropriate.
              21                                  FIFTH CAUSE OF ACTION
              22                                 FRAUD BY CONCEALMENT
              23                               (BASED ON CALIFORNIA LAW)
              24                               (On Behalf of the Nationwide Class)
              25              148. Each of the preceding paragraphs is incorporated by reference as
              26 though fully set forth herein.
              27              149. Plaintiffs assert this claim on behalf of themselves and on behalf of any
              28 person or entity that purchased or leased a Class Vehicle.
                   369240.2                                     26                                    Case No.
                                                            COMPLAINT
       Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 27 of 35 Page ID #:27




          1              150. As set forth above, Defendants concealed and/or suppressed material
          2 facts concerning the fuel efficiency, safety, dependability and reliability of the Class
          3 Vehicles. Defendants also concealed and/or suppressed material facts about the
          4 Class Vehicles when it certified them to consumers and the public as TCUVs.
          5              151. Defendants had a duty to disclose material facts concerning the fliel
          6 efficiency, safety, dependability and reliability of the Class Vehicles because they
          7 marketed the Class Vehicles as safe and fuel efficient. Defendants made
          8 representations to the public about the fuel efficiency, safety, dependability and
          9 reliability of the Class Vehicles.
         10              152. Defendants were under a duty to disclose material facts that they
         11 omitted. Defendants had a duty to disclose material facts because they were known
         12 or accessible only to Defendants. Defendants knew that material facts they did not
         13 disclose were not known to or reasonably discoverable by Plaintiffs.
         14              153. Facts undisclosed by Defendants were and are material because they
2 ~      15 directly impact the fuel efficiency, safety, reliability and dependability of the Class
~2~7                 .               .   .                            .


         16 Vehicles. A defective inverter that causes a car to either shut down while driving or
         17 enter “limp-home” mode is a material safety concern. Whether a vehicle is a
         18 reliable product and has been manufactured and designed according to industry

         19 standards are material facts for a reasonable consumer. The reduced fuel efficiency
        20 of a Toyota Prius is a material fact for a reasonable consumer. The inadequacy of
        21 Toyota’s software “re-flash” safety recalls is a material fact that Toyota concealed
        22 from consumers. The fact that Class Vehicles identified as TCUVs could fail or go
        23 into limp-home mode is a material fact Toyota suppressed. Toyota possessed
        24 exclusive knowledge of the defects rendering the Class Vehicles more dangerous
        25 and less fuel efficient than Toyota led Plaintiffs to believe.
        26               154. Defendants actively concealed material facts, in whole or in part, with
        27 the intent to induce Plaintiffs to purchase Class Vehicles, and to induce Plaintiffs to
        28 purchase Class Vehicles at a higher price than the vehicles’ true value and a higher
              369240.2                                     27                                     Case No.
                                                       COMPLAINT
        Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 28 of 35 Page ID #:28




            1 price than Plaintiffs would otherwise have paid.
           2              155. Defendants still have not made fill and adequate disclosure and
           3 continue to defraud Plaintiffs, and Plaintiffs continue to be harmed and have their
           4 safety put at risk.
           5              156. Plaintiffs were unaware of material facts undisclosed and deliberately
           6 omitted by Defendants. Plaintiffs would not have acted as they did in purchasing
           7 the Class Vehicles, and in purchasing them at the price they did, if Plaintiffs had
           8 known of the concealed facts.
           9              157. Plaintiffs’ actions were reasonable and justified. Defendants had
          10 exclusive control of the concealed material facts. The concealed material facts were
          11 not known to the public or Plaintiffs.
          12              158. As a result of Defendants’ concealment, Plaintiffs sustained damage.
          13 Damages may include, but are not limited to, the difference between the actual value
          14 of that which Plaintiffs paid and the actual value of that which they received, plus
~         15 damages arising from the sales transaction, amounts expended in reliance upon the
          16 fraudulent concealment, compensation for loss of use and enjoyment of the vehicles,
~   ~     17 and/or lost profits pursuant to California Civil Code     § 3343; restitution and
          18 consequential damages pursuant to California Civil Code § 1692; diminution in
          19 resale value of the vehicles; increased risk of physical harm to the driver and others
          20 as well as concern therefor; and increased fuel costs in the past and future.
          21              159. Defendants’ acts were done oppressively, with intent to defraud, with
          22 malice, and/or in reckless disregard of Plaintiffs’ rights. Defendants acts were done
          23 to satisfy their voracious greed and enrich themselves at the expense of Plaintiffs.
          24 Defendants should be punished for their conduct with an assessment of exemplary
          25 and punitive damages pursuant to California Civil Code        § 3294.   The amount of
          26 exemplary and punitive damages should be sufficient to make an example of
          27 Defendants and deter such callous fraudulent conduct in the future. The amount of
          28 exemplary and punitive damages is to be determined at trial.
               369240.2                                    28                                      Case No.
                                                       COMPLAINT
     Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 29 of 35 Page ID #:29




        1                                  SIXTH CAUSE OF ACTION
        2       VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
        3                             BREACH OF IMPLIED WARRANTY
        4                                (CAL. CIV. CODE       §~   1791, et seq.)
        5                                (On Behalf of the California Class)
        6              160. Plaintiffs incorporate by reference each preceding and succeeding
        7 paragraph as though thlly set forth at length herein.
        8              161. Plaintiffs assert this claim on behalf of themselves and on behalf of all
        9 persons and entities that purchased or leased a Class Vehicle.
       10              162. The Class Vehicles are “consumer goods” within the meaning of Cal.
       11 Civ.Code~ 1791(a).
       12              163. Defendants are “manufacturers” within the meaning of Cal. Civ. Code

       13   §   1791(j).
       14           164. Defendants impliedly warranted to Plaintiffs that Class Vehicles were

       15 “merchantable” within the meaning of Cal. Civ. Code § § 1791.1(a) & 1792.
       16       165. Cal. Civ. Code § 1791.1(a) states: “Implied warranty of
~~     17 merchantability” or “implied warranty that goods are merchantable” means that the

       18 consumer goods meet each of the following:
       19      (1) Pass without objection in the trade under the contract description.
      20               (2) Are fit for the ordinary purposes for which such goods are used.
      21               (3) Are adequately contained, packaged, and labeled.
      22               (4) Conform to the promises or affirmations of fact made on the container or
      23               label.
      24               166. The Class Vehicles would not pass without objection in the automotive
      25 trade because the Class Vehicles do not conform with federal and California
      26 standards, and were sold with an inverter defect, as described above.
      27               167. The Class Vehicles are not fit for ordinary purposes for which they are
      28 used.
            369240.2                                      29                                    case No.
                                                      COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 30 of 35 Page ID #:30




            1              168. The Class Vehicles are not adequately labeled because the labeling
            2 misrepresents that the vehicles are compliant with federal and California standards
            3 or fails to disclose such noncompliance. The Class Vehicles are not adequately
            4 labeled because the labeling misrepresents their fuel efficiency.
            5              169. The Class Vehicles do not conform to the promises or affirmations of
            6 fact made on their label because their label misrepresents their fuel efficiency.
            7              170. Defendants’ conduct deprived Plaintiffs of the benefit of their bargain,
            8 caused Plaintiffs to spend more on fuel for the Class Vehicles, and have caused the
            9 Class Vehicles to be worth less than what Plaintiffs paid.
           10              171. As a direct and proximate result of Defendants’ conduct, Plaintiffs
           11 received goods whose condition substantially impairs their value. Plaintiffs have
           12 been damaged by the diminished value of the vehicles, the additional costs of fuel,
           13 the vehicles’ malfunctioning, and actual and potential increased maintenance and
           14 repair costs.
~          15       172. Plaintiffs have complied with all obligations under the warranty, or
           16 otherwise have been excused from performance of said obligations as a result of
~    ~     17 Defendants’ conduct.
!;         18       173. Under Cal. Civ. Code           §~   1791.1(d) & 1794, Plaintiffs are entitled to

           19 damages and other legal and equitable relief including, but not limited to the
           20 purchase price of the Class Vehicles or the overpayment or diminution in value of
           21 the Class Vehicles, and attorney fees and costs.
           22                                SEVENTH CAUSE OF ACTION
           23              VIOLATIONS OF THE CONSUMERS LEGAL REMEDIES ACT
          24                                  (CAL. CIV. CODE       §   1750, et seq.)
          25                                 (On Behalf of the California Class)
          26               174. Plaintiffs incorporate by reference each preceding and succeeding
          27 paragraph as though fully set forth herein.
          28               175. Plaintiffs assert this claim on behalf of themselves and on behalf of all
                369240.2                                       30                                     Case No.
                                                          COMPLAINT
       Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 31 of 35 Page ID #:31




          I persons and entities that purchased or leased a Class Vehicle.
          2              176. Defendants violated the Consumers Legal Remedies Act (CLRA), Cal.
          3 Civ. Code        §   1770(a), by engaging in unfair methods of competition and unfair and
          4 deceptive acts and practices in connection with their sale and lease of Class Vehicles
          5 to Plaintiffs. Defendants’ unfair methods of competition and unfair and deceptive
          6 acts and practices were intended to, and did result in the sale and lease of Class
          7 Vehicles to consumers, including Plaintiffs.
          8              177. Defendants concealed and failed to disclose that the Class Vehicles do
          9 not meet federal and state safety standards and that they are less fuel efficient than
         10 represented by Defendants as a result of defective inverters. These facts are material
         11 to a reasonable consumer in that they reduced the value of the Class Vehicles and
         12 increase the amount consumers have to spend on fuel.
~ 2~     13              178. Plaintiffs have incurred, and will incur, additional fuel costs as a result
         14 of Defendants’ unfair practices. Plaintiffs have been exposed to, and continue to be
  C      15 exposed to, undue risk of harm as a result of Defendants’ unfair practices.
         16       179. Defendants had a duty to disclose the material fact of the defective
  ~      17 inverters and their ramifications      —   reduced safety, performance and fuel efficiency   —




         18 to Plaintiffs. Defendants had exclusive knowledge of the defective inverters and the
         19 reduced safety, performance, and fuel efficiency they caused; these facts were
         20 unknown or not reasonably known to Plaintiffs.
         21              180. Defendants actively and deliberately concealed material facts from
         22 Plaintiffs. At the same time, Defendants made misrepresentations, partial
         23 representation, and half-truths concerning material facts.
         24              181. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
         25 been harmed. Consumers who bought or leased Class Vehicles they otherwise
         26 would not have, or paid more for Class Vehicles than they otherwise would have,
         27 including Plaintiffs, did not receive the benefit of their bargain. The Class Vehicles
         28 were worth less than Defendants represented and less than consumers, including
              369240.2                                       31                                    Case No.
                                                         COMPLAINT
      Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 32 of 35 Page ID #:32




         1 Plaintiffs, were led to believe at the time they purchased or leased the Class
         2 Vehicles.
         3              182. Defendants have sold or leased Class Vehicles at higher prices than
         4 they could have without their unfair methods of competition and unfair and
         5 deceptive acts and practices.
         6              1 83. Plaintiffs are entitled to equitable relief and a declaration that
         7 Defendants’ conduct violates the Consumers Legal Remedies Act.
         8              184. Plaintiffs disclaim any request for monetary relief, including punitive
         9 damages, under the Consumers Legal Remedies Act at this time but reserve the right
        10 to seek relief after providing Defendants with the notice required by the Act.
        11                                  EIGHTH CAUSE OF ACTION
        12                            NEGLIGENT MISREPRESENTATION
        13                                (On Behalf of the Nationwide Class)
        14              185. Plaintiffs incorporate by reference each preceding and succeeding
        15 paragraph as though frilly set forth herein.
CD—
        16              186. Plaintiffs assert this claim on behalf of themselves and on behalf of all
        17 persons and entities that purchased or leased a Class Vehicle.
        18              187. Defendants had a duty to disclose material facts concerning the fuel
        19 efficiency, safety, dependability and reliability of the Class Vehicles and/or the
        20 existence of the defective inverter, as well as a duty to provide an adequate fix for
        21 the defective inverter, because Defendants possessed superior and exclusive
        22 knowledge regarding, and risks associated with, these material facts.
        23              188. Defendants negligently misrepresented and omitted material facts
        24 regarding the fuel efficiency, safety, dependability and reliability of the Class
        25 Vehicles and/or the existence of the defective inverter, as well as the inadequacy of
        26 the software “re-flash” under Safety Recalls EOE and FOR.
        27              189. As a direct result of Defendants’ negligent conduct, members of the
        28 Classes have suffered actual damages.
             369240.2                                       32                                     Case No.
                                                        COMPLAINT
       Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 33 of 35 Page ID #:33




          1              190. The fact that Defendants failed to disclose that the inverter in the Class
          2 Vehicles is defective is material because Plaintiffs and members of the Classes
          3 reasonably expected that the vehicles would not suffer from inverter failure while
          4 driving, causing the car to either shut down while driving or to enter “limp-home”
          5 (or “fail-safe”) mode, exposing Class members to a serious risk of injury or even
          6 death. No reasonable consumer expects a vehicle to experience a defect such as
          7 inverter failure while driving which causes the car to shut down or to enter “limp-
          8 home” mode, thereby exposing drivers, occupants, and others to a serious risk of
          9 injury or death.
         10              191. Plaintiffs and members of the Classes would not have purchased the
         11 Class Vehicles but for Defendants’ negligent misrepresentations and omissions of
         12 material facts regarding the existence of the defective inverter and fuel efficiency,
~ ~!     13 safety, dependability and reliability, or would have paid less for the Class Vehicles.
         14 Plaintiffs and members of the Classes justifiably relied upon Defendants’ negligent
 ~~      15 misrepresentations and omissions of material facts.                       *




         16              192. As a direct and proximate result of Defendants negligent
         17 misrepresentations and omissions of material facts regarding the fuel efficiency,
         18 safety, dependability and reliability and/or the existence of the defective inverter,
         19 Plaintiffs and members of the Classes have suffered an ascertainable loss and actual
        20 damages in an amount to be determined at trial.
        21                                      PRAYER FOR RELIEF
        22               WHEREFORE, Plaintiffs pray for judgment as follows:
        23               a. For an order certifying this action as a class action pursuant to Rule 23 of
        24 the Federal Rules of Civil Procedure and appointing Plaintiffs as the representatives
        25 of the Class and their counsel as Class Counsel;
        26               b. For an order requiring Toyota US to buy back Class Vehicles, refund the
        27 purchase price of Class Vehicles, or otherwise, free of charge, replace the defective
        28 inverters from Class Vehicles, ensure that Class Vehicles comply with applicable
              369240.2                                       33                                    Case No.
                                                         COMPLAINT
        Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 34 of 35 Page ID #:34




               I safety standards, and ensure that Class Vehicles conform to promised performance
            2 and fuel economy guarantees;
            3               c. For an order awarding Plaintiffs actual, statutory or any other form of
            4 damages provided by statute or required by law, except that no monetary relief is
            5 presently sought for violations of the Consumers Legal Remedies Act;
            6               d. For an order awarding Plaintiffs punitive damages in an amount sufficient
            7 to serve as an appropriate punishment in light of all the facts and circumstances,
            8 including Defendants’ financial conditions.
            9               e. For an order awarding Plaintiffs restitution, disgorgement or any other
           10 equitable relief provided by statute or as the Court deems proper, except that no
           11 monetary relief is presently sought for violations of the Consumers Legal Remedies
   ;~      12 Act;
~ ~; ~     13      f. For an order awarding Plaintiffs pre-judgment and post-judgment interest;

           14               g. For an order awarding Plaintiffs reasonable attorney fees and costs of suit,
   ~       15 including expert witness fees; and
           16        h. For an order awarding such other and further relief as this Court may deem

           17 just and proper.
           18
           19 DATED: February 5, 2018                     Respectfully submitted,
          20                                              MILLER BARONDESS, LLP



          23                                              By:_________
          24                                                    LOUIS R. MILLER
                                                                Attorneys for Plaintiffs and the Class
          25
          26
          27
          28
                 369240.2                                      34                                    Case No.
                                                           COMPLAINT
         Case 8:18-cv-00201-JLS-KES Document 1 Filed 02/05/18 Page 35 of 35 Page ID #:35




              1 DATED: February 5,2018                      KJESEL LAW LLP
              2
              3
              4                                             By:
                                                                   PAUL R. KIESEL
              5                                                    JEFFREY A. KONCIUS
              6                                                    NICOLE RAMIREZ
                                                                   Attorneys for Plaintiffs and the Class

              8                                          JURY DEMAND
              9              Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury for all
             10 issues so triable.
                  DATED: February 5,2018                    Respectfhlly submitted,
             12
                                                            MILLER BARONDESS LLP
             13

O.~3
             14
z   ~°

             15                                             By:
    ~        16
                                                                   Attorneys for Plaintiffs and the Class
     ~       17
            ~ DATED: February 5,2018                        KIESEL LAW LLP



                                                            By
            21                                                     PAUL R. KIESEL
            22                                                     JEFFREY A. KONCIUS
                                                                   NICOLE RAMIREZ
            23                                                     Attorneys for Plaintiffs and the Class
            24
            25
            26
            27
            28
                  369240.2                                        35                                    CaseNo.
                                                            COMPLAINT
